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24
                        UNITED STATES DISTRICT COURT
25
26                     CENTRAL DISTRICT OF CALIFORNIA

27
   PINKETTE CLOTHING, INC., a                            Case No. 15-CV-04950-SJO-AJW
28 California corporation,

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            DECLARATION OF RACHEL ZIMMERMAN SCOBIE IN SUPPORT OF DEFENDANT’S MOTION IN LIMINE NO. 4
     Case 2:15-cv-04950-SJO-AJW Document 124-2 Filed 12/16/16 Page 2 of 3 Page ID
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 1                                                        DECLARATION OF RACHEL
                         Plaintiff,                       ZIMMERMAN SCOBIE IN SUPPORT
 2                                                        OF DEFENDANT’S MOTION IN
 3                       vs.                              LIMINE NO. 4
 4 COSMETIC WARRIORS LIMITED,
   believed to be a United Kingdom limited    Date:                    January 24, 2017
 5 company doing business as LUSH             Time:                    9:00 a.m.
 6 HANDMADE       COSMETICS,    and DOES   1- Crtrm:                   10C
   9, inclusive,
 7
                 Defendants.
 8
 9                                                        Complaint Filed: June 30, 2015
10                                                        Trial Date:      January 24, 2017
11
12                        DECLARATION OF RACHEL ZIMMERMAN SCOBIE
13              I, Rachel Zimmerman Scobie, declare as follows:
14              1.       I am an attorney admitted pro hac vice to practice before this Court in this
15 case and an attorney at the law firm Merchant & Gould P.C., co-counsel for Defendant
16 Cosmetic Warriors Limited (CWL). I am over the age of eighteen years, have personal
17 knowledge of the matters stated herein, and am competent to testify about them.
18              2.       Attached hereto as Exhibit A is a true and correct copy of the Mediation
19 Confidentiality Agreement dated June 20, 2016.
20              3.       Attached hereto as Exhibit B is a true and correct copy of CWL’s
21 Mediation Statement dated June 15, 2016. (FILED UNDER SEAL)
22              4.       Attached hereto as Exhibit C is a true and correct copy of excerpts of the
23 Rebuttal Report of Jonathan D. Hibbard, Ph.D. dated October 5, 2016.
24              5.       Attached hereto as Exhibit D is a true and correct copy of excerpts from
25 deposition of Dr. Jonathan D. Hibbard dated October 21, 2016.
26              6.       Attached hereto as Exhibit E is a true and correct copy of excerpts from
27 deposition of Dr. Bruce Isaacson dated October 24, 2016.
28

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            DECLARATION OF RACHEL ZIMMERMAN SCOBIE IN SUPPORT OF DEFENDANT’S MOTION IN LIMINE NO. 4
     Case 2:15-cv-04950-SJO-AJW Document 124-2 Filed 12/16/16 Page 3 of 3 Page ID
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1               7.       Attached hereto as Exhibit F is a true and correct copy of excerpts of the
2 Expert Rebuttal Report of Dr. Bruce Isaacson dated October 5, 2016.
3               I declare under penalty of perjury that the foregoing is true and correct.
4
5
6 Dated: December 16, 2016                        /s/ Rachel Zimmerman Scobie
7                                                 Rachel Zimmerman Scobie

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            DECLARATION OF RACHEL ZIMMERMAN SCOBIE IN SUPPORT OF DEFENDANT’S MOTION IN LIMINE NO. 4
